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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :          Case No. 23-cr-143 (APM)
                                             :
MICHAEL DANIELE,                             :
                                             :
               Defendant.                    :

                          STIPULATION REGARDING IDENTITY

       The United States and the defendant, Michael Daniele, agree and stipulate to the following:

       The still photos below were taken in Washington, D.C., on January 6, 2021. The defendant,

Michael Daniele, is the individual circled in yellow.
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